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          EXHIBIT 42
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   Message
   From:         Hamilton, Dave [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 (FYDI BOHF23SPDLT)/CN=RECI P1 ENTS/CN=955025E6B47A436F84406099716ACBA8-HAMILTON, D]
   Sent:         12/21/2020 2:28:11 PM
   To:           Beaver, Merritt [/o=ExchangeLabs/ou=Exchange Administrative Group
                 (FYDI BOHF23SPDLT)/cn=Recipients/cn=cf9722d544f8476ab2513232dbb6d894-Beaver, Merl
   CC:           IT Security [/o=ExchangeLabs/ou=Exchange Administrative Group
                 (FYDI BOHF23SPDLT)/cn=Recipients/cn=8c095e7e7aa441ebb405c47b1a93d27c-IT Security]
   Subject:      Re: The 590 Rule Attestation



   We need Civix to produce the reports and information that are required by the rule.

   Based on previous years reports Isurmise that James hopefully received something, just don't know if he
   actually requested it, or if he just took their word, but either way, there is no record of it. Ieventually went
   through Calvin, their new CISO, since most of the artifacts he should have at the ready, as Ido, if the situation
   was reversed.

   Nick asked Melissa, Sanchin and others over the last month for any of this information to no avail. We finally
   got more info from Keval of where to look that we did from Civix but we still need the artifact reports. We
   really just can'tjust take their word for it. Ihave asuspicion that they didn't perform aSecurity Risk
   Assessment (SRA) this year, or likely the last few years as they are required by the Rule.

   Additionally, It seems incredible to me that they cannot provide something as simple as the proof as to what the
   designed password restriction in eNet is, they can't even point to an original design spec to verify
   against. That's an example of asignificant gap in our assessment.

   What Iam looking for is something as simple as the standard 8character, complex, upper,lower one number,
   not adictionary word and they force users to change it on some schedule. And that they don't store these
   passwords in clear text in the database and they encrypt or hash them. But Ineed something to document it, not
   just astatement in an email, show me the code snippet, the XML settings, etc.

   Something mirroring the basic Microsoft standards would be agood place to start. But these are the guys that
   whipped up their own MFA solution rather than bolting on something commercial and widely proven as secure
   and resilient.

   On our part, we did everything we could to meet these rules. The guys all busted it and dig deep to produce
   credible, repeatable artifact examples that confirm what we know to be true. A significant portion of the
   partials can be remediated once we get eNet moved over to the new environment. My plan was to produce an
   amendment shortly after the first of the year, once eNet lands and Ican verify the risk gaps are minimized. Too
   late for this years attestation but might help if we can show progress even though it's late, we can blame
   COVID.

   Idocumented in the Next Steps section on each item what we can do to close the gap.

   The largest impact can be made by getting Civix to produce their part of this. We can go from 66% up to over
   80% quickly.

   I'm not familiar with the process of endorsement, if it's abinary pass/fail and we're done until next year, or
   there is adefined "cure" period that we might be able to use to close these gaps.

   The last commitment Ireceived from Civix was by COB on 26 December. Isent them the actual language from
   the Rule so there was no misunderstanding. We will see how they do.




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   Dave



   David Hamilton CISSP, CCISO, CISM, CDPSE, CRISC, HCISPP
                           -




   Chief Information Security Officer
   Office of Georgia Secretary of State
   2Martin Luther King Jr. Dr. SE,
   Atlanta, GA 30334
   P: 470.312.2649
   C:404-229-7830
   dhamiltonsos.ga.gov



   From: Beaver, Merritt <mbeaver@ sos.ga.gov>
   Sent: Monday, December 21, 2020 8:48:53 AM
   To: Hamilton, Dave <dhamilton@sos.ga.gov>
   Subject: RE: The 590 Rule Attestation


   Are in compliance or do we need to do anything at this time




   S. Merritt Beaver
   Chief Information Officer
   Georgia Secretary of State
   Office (470) 312-2727 Mobile: (770)330-0016
   mbeaver@sos.qa.gov


   From: Hamilton, Dave <dhamilton@sos.ga.gov>
   Sent: Saturday, December 19, 2020 8:15 PM
   To: Beaver, Merritt <mbeaver@sos.ga.gov>
   Cc: IT Security <itsecurity@sos.ga.gov>
   Subject: Re: The 590 Rule Attestation


   Not sure why it didn't send the first time          -   here you go.


   From: David Hamilton <dhamilton@sos.ga.gov>
   Date: Saturday, December 19, 2020 at 4:14 PM
   To: "Beaver, Merritt" <mbeaver@sos.ga.gov>
   Cc: IT Security <itsecurity@sos.ga.gov>
   Subject: The 590 Rule Attestation


   Merritt,


   This took alot longer than we first thought, Ireally don't understand how my predecessor was ever able to attest to
   meeting this set of regulations.           Ihandled this just like an assessment, if we cant come up with an artifact that proves
   something is real   -       it doesn't exist.   The guys on the Security team and Iworked tirelessly on capturing these artifacts,
   and it will be much easier next year.


   Civix was basically unresponsive until we beat them up                 -   and we still don't have anything, Calvin's commitment was COB
   on 12/26. Not holding my breath, Idon't think they did a Risk Assessment this year.




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   This is aDRAFT, you can let me know what does and doesn't get forwarded to Ryan and/or Brad, understanding it's lilely
   asingle page signed that we either did or didn't meet the Rule, since he is ultimately on the hook for the accuracy.


   Dave


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